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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA
  -----------------------------------------------------X
  David Bansbach,
                                                                Civil Action No.: 13 cv 61069
                                   Plaintiff,

                   -against-                                    COMPLAINT AND DEMAND
                                                                FOR TRIAL BY JURY
  Commercial Recovery Systems, Inc.,

                                    Defendant.
  -----------------------------------------------------X

          Plaintiff David Bansbach (“Plaintiff”), by and through his attorneys, Fredrick Schulman

  & Associates, Attorneys at Law, as and for his Complaint against the Defendant Commercial

  Recovery Systems, Inc. (“Defendant”), brings this action seeking damages and declaratory relief

  arising from the Defendant’s violations of 15 U.S.C. §1692 et seq., commonly referred to as the

  Fair Debt Collection Practices Act (hereinafter referred to as “FDCPA”), and respectfully sets

  forth, complains and alleges, upon information and belief, the following:

                                       PRELIMINARY STATEMENT

          The FDCPA regulates the behavior of collection agencies attempting to collect a debt on

  behalf of another. The United States Congress has found abundant evidence of the use of

  abusive, deceptive, and unfair debt collection practices by debt collectors, and has determined

  that abusive debt collection practices contribute to a number of personal bankruptcies, marital

  instability, loss of jobs, and invasions of individual privacy. Congress enacted the FDCPA to

  eliminate abusive debt collection practices by debt collectors, to ensure that those debt collectors

  who refrain from using abusive debt collection practices are not competitively disadvantaged,

  and to promote uniform State action to protect consumers against debt collection abuses. 15

  U.S.C. §1692(a)-(e).




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           The FDCPA is a strict liability statute, which provides for actual or statutory damages

  upon the showing of one violation. The Second Circuit has held that whether a debt collector’s

  conduct violates the FDCPA should be judged from the standpoint of the “least sophisticated

  consumer”. Clomon v. Jackson, 988 F.2d 1314 (2d Cir. 1993).

                                    JURISDICTION AND VENUE

  1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §1331, as well as 15

  U.S.C. §1692 et seq. and 28 U.S.C. §2201.

  2.       If applicable, the Court also has pendent jurisdiction over any State law claims in this

  action pursuant to 28 U.S.C. §1367(a).

  3.       Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)(3).


                                                PARTIES

  4.       Plaintiff is a natural person and at all relevant time herein resided in Gaston County, at

  3015 Curtis St. Gastonia, North Carolina 28052.

  5.       At all relevant times herein, Plaintiff is a “consumer” as that term is defined in 15 U.S.C.

  §1692a(3) of the FDCPA.

  6.       Upon information and belief, Defendant is a corporation incorporated under the laws of

  the State of Texas and authorized to conduct business in the State of North Carolina.

  7.       Upon further information and belief, Defendant is engaged in the business of collecting

  debts incurred and alleged to be incurred, for personal, family, or household purposes, and is a

  collection firm with its principal place of business at 8035 E. R. L. Thornton, #220 , Dallas, TX

  75228.

  8.       Defendant’s registered agent, CT Corporation Systems, Inc. maintains its office at 1200

  South Pine Island, Plantation, Florida 33324.



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  9.      Upon information and belief and at all relevant times, Defendant is a “debt collector” as

  the phrase is defined in 15 U.S.C. §1692a(6) of the FDCPA.

  10.     Indeed, upon information and belief, on a website maintained by Defendant at the URL

  address of www.crsresults.com, Defendant informs visitors to the site “Commercial Recovery

  Systems (CRS) is a receivables management company offering a performance-based, third party

  solution for managing and collecting delinquent accounts.”

  11.     Upon information and belief, Defendant holds itself out as an entity engaged in the

  business of being a “debt collector” and is subject to the requirements of the FDCPA.

  12.     Upon information and belief, Defendant was attempting to collect a “debt” from the

  Plaintiff as that term is defined in 15 U.S.C. §1692a(2) of the FDCPA.

  13.     Upon further information and belief, at all relevant times herein, Defendant knew or had

  reason to know that it was obligated to comply with the provisions of the FDCPA when

  attempting to collect a debt allegedly owed by Plaintiff.

                                               FACTS

  14.     Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

  numbered “1” through “13” herein with the same force and effect as if the same were set forth at

  length herein.

  15.     Upon information and belief, an unknown party allegedly stole the Plaintiff’s identity and

  allegedly incurred an auto loan debt to a creditor unknown to Plaintiff, in or around the year

  2005.

  16.     Upon information and belief, the nature of the underlying debt allegedly owed by the

  Plaintiff is the type of debt the FDCPA was designed to regulate.




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  17.    Beginning in or about December 2012, Defendant commenced collection activities

  against Plaintiff to recover an alleged debt (referred to hereinafter as the “Alleged Debt”).

  18.    In or around December 2012, Defendant started calling Plaintiff on his work number.

  19.    In at least one of the communications, Defendant was extremely rude to the Plaintiff.

  20.    Plaintiff told Defendant that he did not appreciate Defendant calling his work number,

  and threatening to take him to court.

  21.    Plaintiff stated that as he already told Defendant, Plaintiff’s work number is for work

  only, and that Defendant should not call him at that number.

  22.    Plaintiff also stated that he gave Defendant an alternative number where he can be

  reached, and reiterated that Defendant should not call him at work.

  23.    Plaintiff told Defendant that it is illegal for Defendant to call him at his work number,

  and that Defendant is violating the law.

  24.    Defendant responded, condescendingly, that “you are going to tell me what is legal and

  what is not legal?”

  25.    Defendant told Plaintiff that Plaintiff was lying with regard to being a victim of identity

  theft eight years ago.

  26.    Defendant threatened to send Plaintiff’s file to Defendant’s legal department.

  27.    Upon information and belief, the Defendant is not an attorney, does not have a legal

  department, and could not legally sue the Plaintiff.

  28.    Plaintiff repeated that it was not his debt and that he was not going to making payments

  on a debt that was not his.

  29.    Defendant hounded Plaintiff in an attempt to coerce him to agree to make a payment.




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  30.    Defendant then told Plaintiff that Defendant will fax over documentation to the local

  police department regarding the Alleged Debt, and the police will go down to Plaintiff’s home

  right then and take a report regarding the identity theft.

  31.    Defendant stated that if Plaintiff obtains a report then she will believe him, and that he

  should call her after the police leaves his home.

  32.    Defendant’s threatening conduct and abusive behavior was extremely demeaning to

  Plaintiff, an invasion of Plaintiff’s privacy and confidentiality rights.

  33.    As a result of Defendant’s deceptive, misleading, and unfair debt collection practices,

  Plaintiff has been damaged.

  34.    As a direct consequence of Defendant’s acts, practices and conduct, Plaintiff suffered and

  continues to suffer from humiliation, anger, anxiety, emotional distress, fear, frustration, and

  embarrassment.

            FIRST CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692c(a)(3)

  35.    Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

  numbered “1” through “34” herein with the same force and effect as if the same were set forth at

  length herein.

  36.    Defendant’s conduct violated 15 U.S.C. §1692c(a)(3) in that Defendant placed several

  phone calls to Plaintiff’s place of employment after knowing that Plaintiff’s employer prohibited

  such calls.

  37.    As a result of Defendant’s violation of the FDCPA, Plaintiff has been damaged and is

  entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

  pursuant to the relevant provisions of the FDCPA.




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             SECOND CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692d

  38.    Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

  numbered “1” through “37” herein with the same force and effect as if the same were set forth at

  length herein.

  39.    Defendant’s conduct violated 15 U.S.C. §1692d in that Defendant used conduct the

  natural consequence of which was to harass, oppress and abuse Plaintiff, when Defendant

  threatened to send the police down to Plaintiff’s home to take an identity theft report, and that

  Plaintiff was lying with regard to owing the Alleged Debt.

  40.    As a result of Defendant’s violation of the FDCPA, Plaintiff has been damaged and is

  entitled to statutory damages, actual damages, and all costs and reasonable attorney’s fees

  pursuant to the relevant provisions of the FDCPA.

              THIRD CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e

  41.    Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

  numbered “1” through “40” herein with the same force and effect as if the same were set forth at

  length herein.

  42.    Defendant’s conduct violated 15 U.S.C. §1692e in that Defendant used false, deceptive

  and misleading representations in attempt to collect a debt in that Defendant kept insisting that

  Plaintiff was not saying the truth and that Plaintiff owed the Alleged Debt.

  43.    As a result of Defendant’s violation of the FDCPA, Plaintiff has been damaged and is

  entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

  pursuant to the relevant provisions of the FDCPA.




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            FOURTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(2)

  44.    Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

  numbered “1” through “44” herein with the same force and effect as if the same were set forth at

  length herein.

  45.    Defendant’s conduct violated 15 U.S.C. §1692e(2) in that Defendant misrepresented the

  character, amount and legal status of the debt, stating that the Alleged Debt was owed by

  Plaintiff when it was informed and knew that the debt was not that of Plaintiff.

  46.    As a result of Defendant’s violation of the FDCPA, Plaintiff has been damaged and is

  entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

  pursuant to the relevant provisions of the FDCPA.

             FIFTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(3)

  47.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  numbered “1” through “46” herein with the same force and effect as if the same were set forth at

  length herein.

  48.    Defendant’s conduct violated 15 U.S.C. §1692e(3) in that Defendant misrepresented

  itself as an attorney by threatening to send documents to Defendant’s legal department.

  49.    As a result of Defendant’s violation of the FDCPA, Plaintiff has been damaged and is

  entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

  pursuant to the relevant provisions of the FDCPA.

             SIXTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(5)

  50.    Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

  numbered “1” through “49” herein with the same force and effect as if the same were set forth at

  length herein.




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  51.    Defendant’s conduct violated 15 U.S.C. §1692e(5) in that Defendant threatened to take

  legal action it could not legally take and did not intend to take.

  52.    As a result of Defendant’s violation of the FDCPA, Plaintiff has been damaged and is

  entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

  pursuant to the relevant provisions of the FDCPA.

          SEVENTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(10)

  53.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  numbered “1” through “52” herein with the same force and effect as if the same were set forth at

  length herein.

  54.    Defendant’s conduct violated 15 U.S.C. §1692e(10) in that Defendant used false

  representation and deceptive means in an attempt to collect a debt when it told Plaintiff that he is

  liable to pay for the Alleged Debt after he told Defendant repeatedly that he was a victim of

  identity theft from about eight years prior.

  55.    As a result of Defendant’s violation of the FDCPA, Plaintiff has been damaged and is

  entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

  pursuant to the relevant provisions of the FDCPA.

              EIGHTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692f

  56.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  numbered “1” through “55” herein with the same force and effect as if the same were set forth at

  length herein.

  57.    Defendant’s conduct violated 15 U.S.C. §1692f in that the Defendant used unfair and

  unconscionable means in its attempts to collect a debt from the Plaintiff, when it mocked




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  Plaintiff, used condescending tones, and told Plaintiff that he was lying about his identity being

  stolen.

  58.        As a result of Defendant’s violation of the FDCPA, Plaintiff has been damaged and is

  entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

  pursuant to the relevant provisions of the FDCPA.

                NINTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692f(1)

  59.        Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  numbered “1” through “58” herein with the same force and effect as if the same were set forth at

  length herein.

  60.        Defendant’s conduct violated 15 U.S.C. §1692f(1) in that Defendant attempted to collect

  an amount not owed by Plaintiff.

  61.        As a result of Defendant’s violation of the FDCPA, Plaintiff has been damaged and is

  entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

  pursuant to the relevant provisions of the FDCPA.

                                     DEMAND FOR TRIAL BY JURY

  62.        Plaintiff hereby demands a trial by jury for all claims and issues in this complaint for

  which the Plaintiff is or may be entitled to a jury trial.

                                          PRAYER FOR RELIEF

             WHEREFORE, Plaintiff David Bansbach demands judgment from the Defendant

  Commercial Recovery Systems, Inc., as follows:

        A.    For actual damages provided and pursuant to 15 U.S.C. §1692k(a)(1);

        B.    For statutory damages provided and pursuant to 15 U.S.C. §1692k(a)(2)(A):

        C.    For attorneys’ fees and costs provided and pursuant to 15 U.S.C. §1692k(a)(3);

        D.    For a declaration that the Defendant’s practices violated the FDCPA; and,

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     E.   For any such other and further relief, as well as further costs, expenses and

          disbursements of this action, as this Court may deem just and proper.



  Dated: New York, New York
         May 10, 2013

                                                Respectfully submitted,


                                               By: _s/Jerald Alan Belofsky_____________
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                                                   Attorneys at Law
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